Case 20-32816-mvl11 Doc 1 Filed 11/06/20

Fill in this information to identify the case:

United States Bankruptcy Court for the:
Northern District of Texas

 

Case number (if known):

Chapter __11

 

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Entered 11/06/20 17:51:20 Page 1 of 41

(Check if this is an
amended filing

04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For more

information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Western Ship Management, LLC

2. All other names debtor used

 

in the last 8 years

 

 

Include any assumed names,
trade names, and doing

 

business

 

as names

3. Debtor's federal Employer 8 1-13 239 2 6
Identification Number (EIN)

4. Debtor's address Principal place of business

6215 Yorkshire Drive
Number Street

Attn.: Brian Ladin

Dallas, TX 75230
City State

Dallas
County

5. Debtor's website (URL)

ZIP Code

Mailing address, if different from principal place of
business

Number Street

 

PO. Box

 

City State ZIP Code

Location of principal assets, if different from principal
place of business

 

Number Street

 

 

City State ZIP Code

 

6. Type of debtor

CJ Partnership (excluding LLP)

L) Other. Specify:

vi Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 1
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Debtor Western Ship Management, LLC
Name

7. Describe debtor's business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor’ must check the first subbox. A
debtor as defined in § 1182(1) who
elects to proceed under subchapter V of
chapter 11 (whether or not the debtor is
a “small business debtor’) must check
the second sub-box

9. Were prior bankruptcy cases filed by

or against the debtor within the last 8

years?

If more than 2 cases, attach a separate
list.

10. Are any bankruptcy cases pending or

being filed by a business partner or
an affiliate of the debtor?

List all cases. If more than 1, attach a
separate list.

Official Form 201

Case number (if known)

A. Check one:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Ci single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. §101(44))

L) Stockbroker (as defined in 11 U.S.C. § 101(53A))

CL) commodity Broker (as defined in 11 U.S.C. § 101(6))
L)clearing Bank (as defined in 11 U.S.C. §781(3))

wi None of the above

B. Check all that apply:
Q) Tax-exempt entity (as described in 26 U.S.C. §501)

L) Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

L) Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See

http:/Avww.uscourts.gov/our-digit-national-association-naics-codes .
4_8 3 O-

Check one:
L) Chapter 7

| Chapter 9

4 Chapter 11. Check all that apply:

C1 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than $2,725,625. If
this sub-box is selected, attach the most recent balance sheet, statement of operations, cash-flow
Statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

vi The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
(excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
Statement of operations, cash-flow statement, and federal income tax return, or if any of these documents
do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

LlaA plan is being filed with this petition.

U

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in accordance
with 11 U.S.C. § 1126(b).

CL) The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
Form 201A) with this form.

L) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

Q) Chapter 12

 

 

 

WiNo
L)yes. pistrict When Case number
MM/DD/YYYY
District When Case number
MM/DD/YYYY

YINo

L) yes. Debtor Relationship
District When

 

MM/DD/YYYY
Case number, if known

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor Western Ship Management, LLC Case number (if known)
Name
11. Why is the case filed in this Check all that apply:
district?

A debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.

Qa bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have vi No
enero eouie ae C)Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
immediate attention? Why does the property need immediate attention? (Check all that apply.)
Q) it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

CL) itneeds to be physically secured or protected from the weather.

CL) Itincludes perishable goods or assets that could quickly deteriorate or lose value without attention (for
example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

QO Other
Where is the property?

 

 

 

 

 

 

 

Number Street
City State ZIP Code
Is the property insured?
LINo
Ayes. insurance agency
Contact name
Phone
FM setsticar and administrative information

 

13. Debtor’s estimation of Check one:

available funds? L) Funds will be available for distribution to unsecured creditors.

hatter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14, Estimated number of Wi 1-490 50-99 C1 1,000-5,000 LI 5,001-10,000 C1 25,001-50,000 L) 50,000-100,000
creditors L) 100-199 L) 200-999 L) 10,001-25,000 L) More than 100,000
15. Estimated assets _) $0-$50,000 C1 $1,000,001-$10 million LJ $500,000,001-$1 billion
L) $50,001-$100,000 L) $10,000,001-$50 million L} $1,000,000,001-$10 billion
Mi $100,001-$500,000 L) $50,000,001-$100 million L) $10,000,000,001-$50 billion
C) $500,001-$1 million L) $100,000,001-$500 million L) More than $50 billion

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
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Debtor Western Ship Management, LLC Case number (if known)
Name
. ae LJ $0-$50,000 —! $1,000,001-$10 million LJ $500,000,001-$1 billion
16. Estimated liabilities .

LJ $50,001-$100,000 —] $10,000,001-$50 milion LI $1,000,000,001-$10 billion
vf $100,001-$500,000 ) $50,000,001-$100 million Q) $10,000,000,001-$50 billion
LJ} $500,001-$1 million —! $100,000,001-$500 million LJ More than $50 billion

BRR Reaves for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment

for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of = The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
authorized representative of
debtor = Ihave been authorized to file this petition on behalf of the debtor.
= | have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 11/05/2020
MM/ DD YYYY

x /s/ Brian Ladin i Brian Ladin
(a

Printed name
Signature of authorized representative of debtor

Title Managing Member

18. Signature of attorney x Js/ Robert T DeMarco Date 11/05/2020

Signature of attorney for debtor MMI DD/ YYYY

Robert T DeMarco
Printed name

DeMarco Mitchell, PLLC

Firm name

1255 West 15th St., 805

 

 

 

 

Number Street

plano ™ 75075

City State ZIP Code
robert@demarcomitchell.com

Contact phone Email address

24014543 T™

Bar number State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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Fill in this information to identify the case:

Debtor name Western Ship Management, LLC

 

United States Bankruptcy Court for the:
Northern District of Texas

 

Case number (if known); ——____ LJ Check if this is an
amended filing

 

 

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim
resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

 

 

 

 

 

 

 

 

 

 

Name of creditor and complete Name, telephone number, Nature of the claim | Indicate if Amount of unsecured claim
mailing address, including zip code | and email address of (for example, trade | claimis If the claim is fully unsecured, fill in only unsecured
creditor contact debts, bank loans, contingent, claim amount. If claim is partially secured, fill in total
professional unliquidated, | claim amount and deduction for value of collateral or
services, and or disputed setoff to calculate unsecured claim.
at Total claim, if | Deduction for | Unsecured
contracts) partially value of claim
secured collateral or
setoff
4 | Kabbage PPP Loan $20,833.00
730 Peachtree St. NE Suite 1100
Atlanta, GA 30308
» | Squires, Richard Settlement $299,035.00
3889 Maple Avenue STE 125 AEN
Dallas, TX 75219
B
4
5
6
7
8

 

 

 

 

 

 

 

 

 

 

Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 1
Case 20-32816-mvl11 Doc 1 Filed 11/06/20 Entered 11/06/20 17:51:20 Page 6of 41

Debtor Western Ship Management, LLC

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Name of creditor and complete Name, telephone number, Nature of the claim | Indicate if Amount of unsecured claim
mailing address, including zip code | and email address of (for example, trade | claimis If the claim is fully unsecured, fill in only unsecured
| creditor contact debts, bank loans, contingent, Claim amount. If claim is partially secured, fill in total
professional unliquidated, | claim amount and deduction for value of collateral or
services, and or disputed setoff to calculate unsecured claim.
government Total claim, if Deduction for | Unsecured
contracts) partially value of claim
secured collateral or
setoff

9

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Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

page 2

 
Case 20-32816-mvl11 Doc 1 Filed 11/06/20 Entered 11/06/20 17:51:20 Page 7 of 41

Fill in this information to identify the case:

Debtor name Western Ship Management, LLC

 

United States Bankruptcy Court for the:

Northern District of Texas

 

Case number (if known); UL) check if this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and

case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

 

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.

Cera Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?
LINo. Go to Part 2.
Aves. Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of debtor's
interest

2. Cash on hand

3. Checking, savings, money market, or financial brokerage accounts (/dentify all)

 

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
3.1 Iberiabank Checking account 2985 $0.00
Additional Page Total - See continuation page for additional entries $610.00

4. Other cash equivalents (/dentify all)

None

 

5. Total of Part 1

Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80. 610.09

 

 

 

Ger Deposits and prepayments

6. Does the debtor have any deposits or prepayments?
Wino. Go to Part 3.
(1) Yes. Fill in the information below.

Current value of debtor's
interest
7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit

None

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 1
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Debtor Western Ship Management, LLC Case number (if known)
Name

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment

None

9. Total of Part 2

 

 

 

Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81. 0
ed Accounts receivable
10. Does the debtor have any accounts receivable?
LINo. Go to Part 4.
ves. Fill in the information below.
Current value of debtor's
interest
11. Accounts Receivable
11a. 90 days old or less: $11,598.00 7 $0.00 — ae -> $11,598.00
face amount doubtful or uncollectible accounts
11b. Over 90 days old: - — a
face amount doubtful or uncollectible accounts
12. Total of Part 3
$11,598.00

Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4: | Investments

13. Does the debtor own any investments?
4 No. Go to Part 5.
(} Yes. Fill in the information below.

Valuation method used for Current value of debtor's
current value interest

14. Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:
None

15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture

Name of fund or stock: % of ownership:

None

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part 1

Describe:

Official Form 106A/B Schedule A/B: Property page 2
Debtor

17.

18.

19.

21.

24.

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Western Ship Management, LLC
Name

None

Total of Part 4

Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.

CER inventory, excluding agriculture assets

Does the debtor own any inventory (excluding agriculture assets)?
VYANo. Goto Part 6.
(1 Yes. Fill in the information below.

General description Date of the last

physical inventory
Raw materials
None

Work in progress

None

Finished goods, including goods held for resale

None

Other inventory or supplies

None

Total of Part 5

Net book value of
debtor's interest

(Where available)

Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.

Is any of the property listed in Part 5 perishable?
wi No
LlYes

Case number (if known)

Valuation method used
for current value

Current value of debtor's
interest

Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

No
L)Yes

Has any of the property listed in Part 5 been appraised by a professional within the last year?

4 No
L)yYes

a Farming and fishing-related assets (other than titled motor vehicles and land)

 

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

Official Form 106A/B

YINo. Go to Part 7.
(Yes. Fill in the information below.

Schedule A/B: Property

page 3
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Debtor Western Ship Management, LLC

Case number (if known)
Name

General description Net book value of Valuation method used _— Current value of debtor's
debtor's interest for current value interest

(Where available)

28. Crops — either planted or harvested

None

29. Farm animals Examples: Livestock, poultry, farm-raised fish

None

30. Farm machinery and equipment (Other than titled motor vehicles)
None
31. Farm and fishing supplies, chemicals, and feed

None

32. Other farming and fishing-related property not already listed in Part 6
None

33. Total of Part 6
Add lines 28 through 32. Copy the total to line 85. $0.00

34. Is the debtor a member of an agricultural cooperative?
vi No
L)Yes. Is any of the debtor's property stored at the cooperative?
CINo
C)Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
4 No
L) Yes

36. Is a depreciation schedule available for any of the property listed in Part 6?
4 No
L)Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
No
L) Yes

Office furniture, fixtures, and equipment; and collectibles

 

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
vi No. Go to Part 8.
(1 Yes. Fill in the information below.

Official Form 106A/B Schedule A/B: Property page 4
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Debtor Western Ship Management, LLC

Case number (if known)
Name

General description Net book value of Valuation method used Current value of debtor's
debtor's interest for current value interest

(Where available)

39. Office furniture

None

40. Office fixtures

None

41. Office equipment, including all computer equipment and
communication systems equipment and software

None

42. Collectibles Examples: Antiques and figurines; paintings, prints or other
artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
or baseball card collections; other collections, memorabilia, or collectibles

None

43. Total of Part 7
Add lines 39 through 42. Copy the total to line 86. SS

44. Isa depreciation schedule available for any of the property listed in Part 7?

Wino
L)Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
vi No
C)Yes

Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?
Wino. Go to Part 9.
(1 Yes. Fill in the information below.

General description Net book value of Valuation method used _— Current value of debtor's
Include year, make, model, and identification numbers (i.e., VIN, HIN, or debtor's interest for current value interest
N-number) (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

None

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
trailers, motors, floating homes, personal watercraft, and fishing vessels

Official Form 106A/B Schedule A/B: Property page 5

 
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Debtor Western Ship Management, LLC
Name

Case number (if known)

None

49. Aircraft and accessories

None

50. Other machinery, fixtures, and equipment (excluding farm machinery
and equipment)

None

51. Total of Part 8
Add lines 47 through 50. Copy the total to line 87. —__—___ 9.0,

52. Is adepreciation schedule available for any of the property listed in Part 8?
vi No
C) Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
No
CL) Yes

Part 9: | Real Property

54. Does the debtor own or lease any real property?
Vino. Go to Part 10.
1 Yes. Fill in the information below.

General description Nature and extent of Net book value of Valuation method used Current value of debtor's
Include street address or other description such as | Gebtor'sinterestin —_ debtor's interest for current value interest
Assessor Parcel Number (APN), and type of property property (Where available)

(for example, acreage, factory, warehouse, apartment
or Office building), if available

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

None

56. Total of Part 9
Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

57. Is adepreciation schedule available for any of the property listed in Part 9?

Wino
Li Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
vi No
CL) Yes

Part 10: | Intangibles and Intellectual Property

Official Form 106A/B Schedule A/B: Property page 6
Debtor

61.

62.

Case 20-32816-mvl11 Doc 1 Filed 11/06/20

Western Ship Management, LLC
Name

Does the debtor have any interests in intangibles or intellectual property?

LINo. Go to Part 11.
Yves. Fill in the information below.

General description

Patents, copyrights, trademarks, and trade secrets
None

Internet domain names and websites

None

Licenses, franchises, and royalties

62.1 _MS World Odyssey - charter party commission

Customer lists, mailing lists, or other compilations

None

Other intangibles, or intellectual property
None

Goodwill

None

Total of Part 10
Add lines 60 through 65. Copy the total to line 89.

Net book value of
debtor's interest

(Where available)

$0.00

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Case number (if known)

Valuation method used
for current value

Current value of debtor's
interest

$299,035.00

$299,035.00

Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)

YNno
L)Yes

Is there an amortization or other similar schedule available for any of the property listed in Part 10?

WNno
CL) Yes

Has any of the property listed in Part 10 been appraised by a professional within the last year?

Wino
Ll Yes

ene All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?

WNo. Goto Part 12.
1 Yes. Fill in the information below.

Official Form 106A/B

Schedule A/B: Property

page 7
Debtor

71.

72.

74.

75.

76.

78.

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Western Ship Management, LLC
Name

Notes receivable
Description (include name of obligor)

None

Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)

None

Interests in insurance policies or annuities

None

Causes of action against third parties (whether or not a lawsuit has been filed)

None

Other contingent and unliquidated claims or causes of action of every nature,
including counterclaims of the debtor and rights to set off claims

None

Trusts, equitable or future interests in property

None

Other property of any kind not already listed Examples: Season tickets,
country club membership

None

Total of Part 11
Add lines 71 through 77. Copy the total to line 90.

Has any of the property listed in Part 11 been appraised by a professional within the last year?
WNo
Ll Yes

Official Form 106A/B Schedule A/B: Property

Case number (if known)

Current value of debtor's
interest
$0.00
page 8
Debtor

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Western Ship Management, LLC
Name

 

 

 

 

+91b.

Case number (if known)

Current value
of real property

 

 

$0.00

 

 

 

 

$0.00

 

Type of property Current value of
personal property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1. $610.00
81. Deposits and prepayments. Copy line 9, Part 2. $0.00
82. Accounts receivable. Copy line 12, Part 3. $11,598.00
83. Investments. Copy line 17, Part 4. $0.00
84. Inventory. Copy line 23, Part 5. $0.00
85. Farming and fishing-related assets. Copy line 33, Part 6. $0.00
86. Office furniture, fixtures, and equipment; collectibles. Copy line

43, Part 7. $0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8. $0.00

Real property. Copy line 56, Part 9.........cccccccecscsstesseestessesssesessesiessecsucssessessesseseeeeee
89. Intangibles and intellectual property. Copy line 66, Part 10. $299,035.00
90. Allother assets. Copy line 78, Part 11. + $0.00
91. Total. Add lines 80 through 90 for each column....... 91a. $311,243.00
92. Total of all property on Schedule A/B. Lines 918 + 91D = 92 occ ccc cec ces cesesssesceesessnesestcsesscsscsaceseesssesseareecusearereceveveese

Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property

 

 

$311,243.00

 

page 9

 
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Debtor Western Ship Management, LLC
Name

FF accitionai Page

All cash or cash equivalents owned or controlled by the debtor

Case number (if known)

Current value of debtor's

 

 

interest
3. Checking, savings, money market, or financial brokerage accounts - Continued
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
3.2 JP Morgan Checking account 7246 $0.00
3.3 JP Morgan Brokerage account 0918 $610.00

 

 

Official Form 106A/B Schedule A/B: Property page 10
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Debtor name Western Ship Management, LLC

United States Bankruptcy Court for the:
Northern District of Texas

Case number (if known): C) Check if this is an

amended filing

 

 

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

 

 

12/115

Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

YiNo. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

(1 Yes. Fill in all of the information below.
Carn List Creditors Who Have Secured Claims

2.List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, | ColumnA Column B
list the creditor separately for each claim. Amountotcisin Value of collateral that
Do not deduct the supports this claim

value of collateral.

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
Page, if any. $0.00

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2
Case 20-32816-mvl11 Doc 1 Filed 11/06/20 Entered 11/06/20 17:51:20 Page 18 of 41

Debtor Western Ship Management, LLC Case number (if known)
Name

List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

 

Name On which line in Part 1 Last 4 digits of
re did you enter the related account number for
creditor? this entity
Line ___ ————————

 

 

Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2
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Debtor name Western Ship Management, LLC

 

United States Bankruptcy Court for the:

Northern District of Texas

 

Case number (if known); — (Check if this is an
amended filing

 

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims 1245

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 

Cee ise All Creditors with PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
WiNo. Go to Part 2.
(1 Yes. Go to line 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
priority unsecured claims, fill out and attach the Additional Page of Part 1.

Total claim Priority amount

 

Priority creditor’s name and mailing address As of the petition filing date, the claim is:
Check all that apply.

QO) Contingent
C) Unliquidated
C) Disputed

 

 

 

Basis for the claim:
Date or dates debt was incurred

 

Is the claim subject to offset?
Last 4 digits of account QC) No

number) ) Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) __
Priority creditor's name and mailing address As of the petition filing date, the claim is:
Check all that apply.
Q) Contingent
L) Unliquidated
CL) Disputed

 

 

 

 

Basis for the claim:
Date or dates debt was incurred

 

Is the claim subject to offset?
Last 4 digits of account L) No

number ———_.____ CI) Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) —_—

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 3
Case 20-32816-mvl11 Doc 1 Filed 11/06/20 Entered 11/06/20 17:51:20 Page 20 of 41

Debtor Western Ship Management, LLC
Name

Case number (if known)

ea ise All Creditors with NONPRIORITY Unsecured Claims

3. _ List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out

and attach the Additional Page of Part 2.

Nonpriority creditor's name and mailing address
Kabbage

 

730 Peachtree St. NE Suite 1100

 

Atlanta, GA 30308

 

Date or dates debt was incurred 06/23/2020

Last 4 digits of account number ————

Nonpriority creditor's name and mailing address
Squires, Richard

 

3889 Maple Avenue STE 125

 

Dallas, TX 75219

 

Date or dates debt was incurred 07/17/2020

Last 4 digits of account number ye a
[33] Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred
Last 4 digits of account number Sa
Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number a
Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred
Last 4 digits of account number SSS

Official Form 206E/F

Amount of claim

As of the petition filing date, the claim is: $20,833.00
Check all that apply.

Q) Contingent

Q) Unliquidated

O) Disputed

Basis for the claim: PPP Loan

Is the claim subject to offset?
No
UO) Yes

As of the petition filing date, the claim is: $299,035.00
Check all that apply.

Q) Contingent
Q Unliquidated
QO Disputed

Basis for the claim: Settlement Agreement
Is the claim subject to offset?

No
QO) Yes

As of the petition filing date, the claim is:
Check ail that apply.

Q) Contingent
Q) unliquidated
C) Disputed

Basis for the claim:

Is the claim subject to offset?
L) No

L) Yes

As of the petition filing date, the claim is:
Check all that apply.

L) Contingent
Q) unliquidated
C) Disputed

Basis for the claim:

Is the claim subject to offset?
L) No

C) Yes

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent
QJ unliquidated
CL) Disputed

Basis for the claim:

Is the claim subject to offset?
LI No
L) Yes

Schedule E/F: Creditors Who Have Unsecured Claims page 2 of 3
Case 20-32816-mvl11 Doc 1 Filed 11/06/20 Entered 11/06/20 17:51:20 Page 21 of 41

Debtor Western Ship Management, LLC
Name

eed rota Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Case number (if known)

 

 

 

Total of claim amounts
5a. Total claims from Part 1 Sa. $0.00
5b. Total claims from Part 2 5b. + $319,868.00
5c. Total of Parts 1 and 2 5c. $319,868.00

 

Lines 5a + 5b = 5c.

 

 

 

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 3 of 3
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Fill in this information to identify the case:

Debtor name Western Ship Management, LLC

United States Bankruptcy Court for the:
Northern District of Texas

Case number (if known); ___ Chapter 11

(Check if this is an
amended filing

 

 

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
() No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
Wi Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
2. List all contracts and unexpired leases State the name and mailing address for all other parties with whom the
debtor has an executory contract or unexpired lease

State what the contract or lease is

 

 

 

 

Settlement Agreement Squires, Richard
21 for and the nature of the debtor’s = =
interest 3889 Maple Avenue STE 125
ani Dallas, TX 75219
State the term remaining Omonths

 

 

List the contract number of any
government coniract

 

State what the contract or lease is
2.2 for and the nature of the debtor’s
interest

 

 

 

State the term remaining

 

 

List the contract number of any
government contract

 

 

 

State what the contract or lease is
2.3 for and the nature of the debtor’s
interest

 

 

 

State the term remaining

 

 

List the contract number of any
government contract

 

 

 

State what the contract or lease is
2.4 for and the nature of the debtor’s
interest

 

 

 

State the term remaining

 

 

List the contract number of any
government contract

 

 

 

State what the contract or lease is
25 for and the nature of the debtor’s
interest

 

 

 

State the term remaining

 

 

List the contract number of any
government contract

 

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases page 1 of 1
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Debtor name Western Ship Management, LLC

 

United States Bankruptcy Court for the:
Northern District of Texas

Case number (if known): L) Check if this is an

amended filing

 

 

Official Form 206H
Schedule H: Codebtors 1245

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors?
LINo. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

Wes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
D-G.include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the
codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor

ii Check all schedules
Name Mailing Address Name Gul sagie

2.1 Ladin, Brian 6215 Yorkshire Drive Squires, Richard Up

Street wi EF
Lia

 

 

Dallas, TX 75230
City State ZIP Code

22

 

Street

 

 

City State ZIP Code

23

 

Street

 

 

City State ZIP Code

2.4

 

Street

 

 

City State ZIP Code

25

 

Street

 

 

City State ZIP Code

Official Form 206H Schedule H: Codebtors page 1 of 2
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Debtor Western Ship Management, LLC Case number (if known)
Name

FF sccitionai Page if Debtor Has More Codebtors

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

Column 1: Codebtor Column 2: Creditor

Name Mailing Address Name Check all schedules
that apply:

26

 

Street

 

 

City State ZIP Code

Official Form 206H Schedule H: Codebtors page 2 of 2
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Fill in this information to identify the case:

Debtor name Western Ship Management, LLC

United States Bankruptcy Court for the:
Northern District of Texas

Case number (if known): Chapter 11

L) Check if this is an
amended filing

 

 

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15

CEREA summary of Assets

1. Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

 

1a. Real Property:
Copy line 88 from Schedule A/B. $0.00

1b. Total personal property:

 

 

 

 

Copy line 91A from Schedule A/B.........cccsccsssssessssessseesssesssessssssssssessisessssesestevessessstisssrsusssiasssiussssusssiussesessseessieesiseeeseecsssee $311,243.00
1c. Total of all property:
Copy line 92 from SCHECUIC A/B........eccscssssesssseessssesssessssssssesssssssasisssrecsssvscasusssstsssssusssussstistssissssisssvisssssssiesssveseseseseseseee $311,243.00
CERES summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D................. _—CSB.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a Of SChEQUIC E/F..........cccccccccsssstessssssssessssecsssvesssusestesessiessssesssiessssessseeee OD,
3b. Total amount of claims of non-priority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b Of Schedule E/F........c.ccccccccssssssssssesssseseseessseeseseesees + $319,868.00
4, Total Wiailities. cc cccccssesssevsseenstenusesesevessnsssssssssensvasiasenunsonnasosneoansnnaniisenisesiassissesissitasussesiuassaen $319,868.00

 

 

 

 

Lines 2+3a+3b

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1
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Fill in this information to identify the case

Debtor name Western Ship Management, LLC

 

United States Bankruptcy Court for the:
Northern District of Texas

 

Case number (if known): L) Check if this is an
amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual's position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

FR occiaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:
A Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Schedule H: Codebtors (Official Form 206H)

A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

C KR ABKB EK

Amended Schedule

 

0

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

0

Other document that requires a declaration

 

| declare under penally of perjury that the foregoing is true and correct

Executed on 11/05/2020 xX /s/ Brian Ladin f
MMi ODI YYYY Signature of individual signing on behalf of debtor

Brian Ladin
Printed name

Managing Member
Position or relationship to debtor

Official Form B202 Declaration Under Penalty of Perjury for Non-Individual Debtors
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MIM CalSM ale )auicUle lam OMe cali \vmtneRe=( oe

Debtor name Western Ship Management, LLC

 

United States Bankruptcy Court for the:
Northern District of Texas

Case number (if known): LJ Check if this is an

amended filing

 

 

Official Form 207

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy _ow9

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
and case number (if known).

ceo

1. Gross revenue from business

 

 

C)None
Identify the beginning and ending dates of the debtor’s fiscal year, which may Sources of revenue Gross revenue
be a calendar year Check all that apply (before deductions and
exclusions)
From the beginning of the e Suen % inaaas MoOperating a business $58,503.00
fiscal year to filing date: rom OINUe2ve) _ 0 Filing date
¥ a MM/ DD/ YYYY other
For prior year: From 0101/2019 to 12/81/2019 Moperating a business $0.00
MM/ DD/ YYYY MM/ DD/ YYYY CJ) Other
For the year before that: From 01/01/2018 to 1281/2018 Moperating a business $771,694.00
MM/ DD/ YYYY MM/ DD/ YYYY C)Other

2. Non-business revenue

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
each source and the gross revenue for each separately. Do not include revenue listed in line 1.

 

 

Wi None
Description of sources of revenue Gross revenue from each
source
(before deductions and
exclusions)
From the beginning of the _
fiscal year to filing date: From 01/01/2020 to Filing date
MM/ DD/ YYYY
For prior year: From 01/01/2019 to 12/1/2019
MM/ DD/ YYYY MM/ DD/ YYYY
For the year before that: From 01/01/2018 to 12/81/2018
MM/ DD/ YYYY MM/ DD/ YYYY

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1
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Debtor Western Ship Management, LLC

Case number (if known)
Name

eee vice Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing this case unless

the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to
cases filed on or after the date of adjustment.)

 

 

 

L)None
Creditor’s name and address Dates Total amount or value Reasons for payment or transfer
Check all that apply
3.1. Squires, Richard 10/15/2020 $58,503.00 C) Secured debt
ree vi Unsecured loan repayments
oes Maple Avenue STE 125 C)suppliers or vendors
L) services
OQ Other

 

Dallas, TX 75219
City State ZIP Code

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or co-signed by an
insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3
years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone
in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
any managing agent of the debtor. 11 U.S.C. § 101(31).

(}None

Insider's name and address Dates Total amount or value Reasons for payment or transfer

4.1. TC Global Management 10/13/2020 $20,803.00 Salary
Creditor's name

6215 Yorkshire Drive
Street

 

 

 

Dallas, TX 75230
City State ZIP Code

Relationship to debtor
Parent Company

5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

wi None

Creditor’s name and address Description of the property Date Value of property

5.1.

 

Creditor's name

 

Street

 

 

City State ZIP Code

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2
Case 20-32816-mvl11 Doc 1 Filed 11/06/20 Entered 11/06/20 17:51:20 Page 29 of 41

Debtor Western Ship Management, LLC
Name

6. Setoffs

Case number (if known)

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

wi None

Creditor’s name and address

Description of the action creditor took

Date action was Amount

 

5.1.
Creditor's name

XXXX— —__ —__ _ __

 

Street

 

 

City State ZIP Code

ae Legal Actions or Assignments

 

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity

—within 1 year before filing this case.

 

 

 

(None
7.1.  Casetitie Nature of case Court or agency's name and address Status of case

Richard Squires, et al. v Brian Partnership Dispute 298th District Court, Dallas County () Pending

Ladin, et al. Name CJOn appeal
600 Commerce Street 8th Floor
Street 1] Concluded

Ss George L. Allen, Sr. Courts Building
DC-19-14747 Dallas, TX 75202

8. Assignments and receivership

 

City State ZIP Code

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian,

or other court-appointed officer within 1 year before filing this case.

4 None

 

 

 

 

 

 

 

 

 

8.1. Custodian’s name and address Description of the property Value
Custodian’s name
Case title Court name and address
Street
Name
- Case number Street
City State ZIP Code
Date of order or assignment City State ZIP Code

 

ee certain Gifts and Charitable Contributions

 

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that

recipient is less than $1,000

Vinone

Official Form 207

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 3
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Debtor Western Ship Management, LLC Case number (if known)
Name
9.1. Recipient's name and address Description of the gifts or contributions Dates given Value

 

Recipient’s name

 

 

 

Street
City State ZIP Code
Recipient’s relationship to debtor

 

ar Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

WiNone

Description of the property lost and how the loss Amount of payments received for the loss Date of loss Value of property
lost

occurred If you have received payments to cover the loss, for

example, from insurance, government compensation, or
tort liability, list the total received.

List unpaid claims on Official Form 106A/B (Schedule A/B:
Assets — Real and Personal Property).

10.1.

Ga Certain Payments or Transfers

11. Payments related to bankruptcy

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

 

()None
11.1. Who was paid or who received the transfer? If not money, describe any property transferred Dates Total amount or
value
Attomey’s Fee 10/21/2020 $10,000.00

 

DeMarco Mitchell, PLLC

Address

1255 West 15th St., 805
Street

 

Plano, TX 75075
City State ZIP Code

Email or website address

 

Who made the payment, if not debtor?

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4
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Debtor Western Ship Management, LLC Case number (if known) ——_
Name

12. Self-settled trusts of which the debtor is a beneficiary

or similar device.
Do not include transfers already listed on this statement.

wi None

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust

12.1. Name of trust or device Describe any property transferred Dates transfers Total amount or

were made value

 

Trustee

 

13. Transfers not already listed on this statement

List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2 years before the

filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers
made as security. Do not include gifts or transfers previously listed on this statement.

wi None

13.1. Who received the transfer? Description of property transferred or payments Date transfer Total amount or

received or debts paid in exchange was made value

 

Address

 

Street

 

 

City State ZIP Code

Relationship to debtor

 

ead Previous Locations

14. Previous addresses

List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

 

 

 

 

Wi Does not apply
Address Dates of occupancy
14.1. From To
Street
City State ZIP Code

Health Care Bankruptcies

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 5
Case 20-32816-mvl11 Doc 1 Filed 11/06/20 Entered 11/06/20 17:51:20 Page 32 of 41

Debtor Western Ship Management, LLC

Case number (if known)
Name

15. Health Care bankruptcies

Is the debtor primarily engaged in offering services and facilities for:
—diagnosing or treating injury, deformity, or disease, or

—providing any surgical, psychiatric, drug treatment, or obstetric care?
WINo. Go to Part 9.

(1) Yes. Fill in the information below.

 

 

 

Facility name and address Nature of the business operation, including type of services the If debtor provides meals
debtor provides and housing, number of
patients in debtor’s care
15.1.

Facility name

Street Location where patient records are maintained(if different from facility | How are records kept?
address). If electronic, identify any service provider.

City State ZIP Code

Check all that apply:

 

(J Electronically
(_) Paper

 

EEE rersonaty Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?
4) No.
1 Yes. state the nature of the information collected and retained.
Does the debtor have a privacy policy about that information?
LINo
L)Yes

 

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-sharing plan
made available by the debtor as an employee benefit?

Mino. Goto Part 10.

(LJ) Yes. Does the debtor serve as plan administrator?
LINo. Go to Part 10.
LJ} Yes. Fill in below:

 

Name of plan Employer identification number of the plan
CS  ———

Has the plan been terminated?

LINo

LJ} Yes

eet certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts

Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor's benefit, closed, sold, moved, or
transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
associations, and other financial institutions.

Mi None

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6
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Debtor Western Ship Management, LLC Case number (if known)

 

 

 

 

 

 

Name
Financial institution name and address Last 4 digits of account Type of account Date account was Last balance
number closed, sold, moved, before closing
or transferred or transfer
18.1 XXXX-__ Ss Checking

Name U)Savings
(_)Money market

Street
(J Brokerage
(Other

City State ZIP Code

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

1] None

 

 

 

 

 

 

 

 

 

19.1 Depository institution name and address Names of anyone with access to it Description of the contents Does debtor

still have it?
QC) No

Name
L) Yes

Street

Address
City State ZIP Code

 

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does

 

 

 

 

 

 

 

 

 

business.
4 None
20.1 Facility name and address Names of anyone with access to it Description of the contents Does debtor
still have it?
L) No
Name
L) Yes
Street
Address
City State ZIP Code

 

t-lammie Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or

rented property.
Mi None

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Debtor Western Ship Management, LLC Case number (if known)
Name
Owner's name and address Location of the property Description of the property Value
Name
Street
City State ZIP Code

BREA Detaiss About Environmental Information

For the purpose of Part 12, the following definitions apply:

@ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
affected (air, land, water, or any other medium).

m Sitemeans any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
or utilized.

@ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
substance.

Report all notices, releases, and proceedings known, regardless of when they occurred

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
Include settlements and orders.

Wino

(Yes. Provide details below.

 

 

 

 

 

 

 

 

 

Case title Court or agency name and address Nature of the case Status of case
() Pending
Name
Case number Lon appeal
(_)Concluded
Street
City State ZIP Code

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
YANo
(} Yes. Provide details below.

 

 

 

 

 

 

 

 

Site name and address Governmental unit name and address Environmental law, if known Date of notice
Name Name
Street Street
City State ZIP Code City State ZIP Code

24. Has the debtor notified any governmental unit of any release of hazardous material?

YiNno

1} Yes. Provide details below.

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Debtor Western Ship Management, LLC

 

 

 

 

 

 

 

 

 

 

Case number (if known)
Name
Site name and address Governmental unit name and address Environmental law, if known Date of notice
Name Name
Street Street
City State ZIP Code City State ZIP Code

eke vetaits About the Debtor’s Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest

List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information
even if already listed in the Schedules.

 

 

 

 

Mi None
Business name and address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.
A.
*8 BING, pe gre
Name
Dates business existed
Street
ee From To
City State ZIP Code

26. Books, records, and financial statements

26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

LJNone

Name and address Dates of service
26a.1. Lyndale Newcomb From 1/1/2018 To
Name

7900 Washington Avenue
Street

 

Houston, TX 77079
City State ZIP Code

26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
financial statement within 2 years before filing this case.

WiNone

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Debtor Western Ship Management, LLC Case number (if known)
Name
Name and address Dates of service
26b.1.
From To
Name
Street
City State ZIP Code

26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
LJNone

Name and address If any books of account and records are
—_ unavailable, explain why
Cc.

Lyndale Newcomb
Name

7900 Washington Avenue

Street

 

 

 

 

77079
City State ZIP Code

Name and address If any books of account and records are
unavailable, explain why
26c.2.
Ladin, Brian
Name

6215 Yorkshire Drive
Street

 

 

 

Dallas, TX 75230
City State ZIP Code

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued
a financial statement within 2 years before filing this case.

Minone

Name and address

26d.1.

 

Name

 

Street

 

 

City State ZIP Code

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

YANo

_) Yes. Give the details about the two most recent inventories.

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Debtor Western Ship Management, LLC

Case number (if known)
Name

Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory

 

Name and address of the person who has possession of inventory records

 

Name

 

Street

 

 

City State ZIP Code

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the
debtor at the time of the filing of this case.

Name Address Position and nature of any interest % of interest, if any

 

Ladin, Brian 6215 Yorkshire Drive Dallas, TX 75230 Managing Member, Membership 100.00 %

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
shareholders in control of the debtor who no longer hold these positions?

YANo

LJ) Yes. Identify below.

 

Name Address Position and nature of any Period during which
interest position or interest was held
From
To

30. Payments, distributions, or withdrawals credited or given to insiders

Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
loans, stock redemptions, and options exercised?

LINo
1) Yes. Identify below.

 

Name and address of recipient Amount of money or Dates Reason for providing
description and value of the value
property
30.1. Ladin, Brian $20,803.00 Salary / Expense
Name Reimbursement

6215 Yorkshire Drive
Street

 

Dallas, TX 75230
City State ZIP Code

Relationship to debtor

Managing Member

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Debtor Western Ship Management, LLC

Case number (if known) et
Name

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
LINo
Aves. identify below,

Name of the parent corporation Employer Identification number of the parent corporation
TC Global Management, LLC EIN; 71-0 8 4 4 6 5 3

 

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
4 No

1} Yes. Identify below.

Name of the pension fund Employer Identification number of the pension fund

GEERT sicnature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.
| declare under penalty of perjury that the foregoing is true and correct

Executed on 11/05/2020

MM/ DD/ YYYY
x /s/ Brian Ladin ij
Signature of individdal signing on behalf of the debtor

Position or relationship to debtor

Managing Member

Printed name Brian Ladin

Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
4 No
_}Yes

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IN THE UNITED STATES BANKRUPTCY COURT

NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
IN RE: Western Ship Management, LLC CASE NO
CHAPTER 11

VERIFICATION OF CREDITOR MATRIX

The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/he edge.

Date 11/05/2020 Signature /s/ Brian Ladin

Brian Ladin, Managing Member Mt
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Dallas County Tax-Assessor
Collector

500 Elm Street

Dallas, TX 75202

Internal Revenue Service
Centralized Insolvency Operations
P.O. Box 7346

Philadelphia, PA 19101-7346

Kabbage
730 Peachtree St. NE Suite 1100
Atlanta, GA 30308

Brian Ladin
6215 Yorkshire Drive
Dallas, TX 75230

Office of the United States
Trustee

Earle Cabell Federal Building

1100 Commerce Street Room 976
Dallas, TX 75242

Richard Squires
3889 Maple Avenue STE 125
Dallas, TX 75219

Texas Attorney General's
Office

Bankruptcy Collection Division

PO Box 12548

Austin, TX 78711-2548

Texas Comptroller of Public
Account

C/O Office of the Attorney General
Bankruptcy-Collections Division

PO Box 12548, MC-008

Austin, TX 78711-2548
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United States Attorney
Northern District of Texas

1100 Commerce Street, 3rd Fl.
Dallas, TX 75242-1699
